                                                                                 Page 12 of 73

                                 Case 3:21-cv-00044 Document 1-1 Filed 02/26/21 Page 1 of 2
Ef.OC F!lr;tl 5 (11/09)


                          CHARGE OF DISCRIMINATION
              This form Is affected by the Privacy Act of 1974 See enclosed Privacy Ad
                     Statemenl and other iruormatlon before completing this form
                                                                                                            □[Kl
                                                                                                         Charge Presented To:
                                                                                                                   FEPA
                                                                                                                                           Agency(ies) Charge No(s):


                                                                                                                   EEOC                       453-2017-00550
                                             Texas Workforce Commission Civil Rights Division                                                              and EEOC
                                                                          State or local Agency If any
Name (indicate Mr Ms .. Mrs.)                                                                                      Home Phone (Incl Area Code)           Dale of Birth
 Karla Gallegos                                                                                                       (915) 267-6704                   06/08/1984
Street AdcSress                                                                  City, State and ZIP Code
12960 Alnor St, Apt 191, San Ellzario, TX 79849

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee. or Stale or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than lwo, list under PARTICULARS below.)
Name                                                                                                               No Employees, Membera     Phone No {IIIC/ude Area Code)
MESILLA VALLEY TRANSPORTATION                                                                                       500 or More                  (915) 791-4000
Street Address                                                                   City, State and ZIP Code
 9525 Escobar St, El Paso, TX 79907

Name                                                                                                               No. Employees Members     Phone No (Include Area Code}


Street Address                                                                   City, State and ZIP Code




  □ □ 0 □ □□
DISCRIMINATION BASED ON (Check appropriate box (es))                                                                       OATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                 Eartest               Latest


   □□ □ □
            RACE               COLOR                SEX                RELIGION               NATlONAL ORIGIN                10-16-2016                11-08-2016
                  RETALIATION
                           OTHER (Specify)
                                             AGE             OISABILJTY                  GENETIC INFORMATION
                                                                                                                                  □        CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed. attach extra sheet(s)J.
  PERSONAL HARM:
  I began my employment as an Invoice clerk, a full time pennanent employee with Mesilla Valley Transportation on June 13,
  2016. I infonned my supervisor Mr. Perez Chica of my pregnancy and worked through my entire pregnancy. I went out on
  maternity leave on October 16, 2016 and my child was born on October 26, 2016. I contacted my supervisor Mr. Perez Chica
  and he infonned me to take 2 additional weeks off and then I could retum to work on or about the middle of November 2016.
  On November 8, 2016 I was contacted by HR. Mr. Greg Ginger and he lnfonned I had been discharged. I belleve I was
  discriminated because of my pregnancy.
   RESPONDENT'S REASON FOR ADVERSE ACTION: Not allowed to return to work
  DISCRIMINATION STATEMENT:
  I believe that I have been discriminated against because of my Sex (Pregnancy), in violation of Title VII of the Civil Rights
  Act of 1964, as amended.


I want this charge filed wilh both the EEOC and the State or local Agency, II any. I          NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and l wiH
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, Information and bellef.
                                                                                              SIGNATURE OF COMPLAINANT


                                                                                              SUBSCRIBED ANO SWORN TO BEFORE ME THIS DATE


                                 \�4'�-���
      Jan 23, 2017                                                                            (month. day. yeal)

              Date
Case 3:21-cv-00044 Document 1-1 Filed 02/26/21 Page 2 of 2
